        Case 1:21-cr-00026-CCC Document 48 Filed 08/19/21 Page 1 of 2



                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:21-CR-26
                                           :
             v.                            :   (Judge Conner)
                                           :
ROHAN LYTTLE,                              :
                                           :
                    Defendant              :

                                       ORDER

      AND NOW, this 19th day of August, 2021, upon consideration of the

motion (Doc. 47) to withdraw as counsel filed by Andrew Rendeiro, Esquire, and

Christopher Wright, Esquire, who have been retained by defendant Rohan Lyttle as

counsel in the above-captioned action, and it appearing from counsel’s motion that

there has been an irretrievable breakdown in the attorney-client relationship, that

there are irreconcilable differences between counsel and Lyttle, that Lyttle consents

to the instant motion, and that he no longer wants Attorney Rendeiro and Attorney

Wright as his legal representation, (see Doc. 47 ¶¶ 3-6), and it further appearing that

the government concurs in the instant motion, (see id. ¶ 8), and the court finding

that good cause for withdrawal exists for the reasons stated in the motion, see PA. R.

PROF’L CONDUCT 1.16(b)(7); see also LOCAL RULE OF COURT 83.23.2, but also mindful

of the issue of continuity of counsel, and, in that regard, the court concluding that

we require a current financial affidavit from Lyttle to determine whether Lyttle is

financially eligible for appointed counsel under the Criminal Justice Act, 18 U.S.C.

§ 3006A, or otherwise require an expression of intent to retain successor counsel or
           Case 1:21-cr-00026-CCC Document 48 Filed 08/19/21 Page 2 of 2



to proceed pro se, before terminating Attorney Rendeiro and Attorney Wright as

counsel of record, it is hereby ORDERED that:

      1.       The Clerk of Court shall provide a Financial Affidavit Form (CJA-23)
               to Attorney Rendeiro and Attorney Wright.

      2.       Attorney Rendeiro and Attorney Wright shall provide the Financial
               Affidavit Form (CJA-23) to Lyttle for completion and shall return the
               completed form to the court within 14 days of the date of this order.

      3.       The court will review Lyttle’s Financial Affidavit Form (CJA-23)
               promptly upon receipt thereof and, if Lyttle is deemed financially
               eligible, will appoint successor counsel to represent Lyttle.

      4.       In the event Lyttle does not seek appointment of counsel and instead
               intends to retain successor counsel or proceed pro se, Lyttle shall so
               notify the court within 14 days of the date of this order.

      5.       Attorney Rendeiro and Attorney Wright’s motion (Doc. 47) to withdraw
               as counsel shall be held temporarily in abeyance pending receipt and
               review of the updated financial affidavit.




                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
